            Case 2:13-cv-03937-LFR Document 110 Filed 01/30/15 Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    Civil
        Brian Harris                                  ACTION
                       Plainitff

   vs

        Saint Joseph's University et al                No.       13-3937
                                     Defendants


                       NOTICE OF FILING OF           FFICIAL TRANSCRIPT

     Notice is hereby given that an official transc ·pt of a proceeding held on 1/5
filed by the Office of the Clerk of Court in the above-captioned matter. The parties ave seven
(7) business days to file with the court a Notice of Intent to Request Redaction of this transcript.
If no such Notice is filed, the transcript may be made remotely electronically available to the
public without redaction after ninety (90) calendar days.

    Unless otherwise ordered by the court, the attorney must review the following portions of the
transcript:

    •            opening and closing statements made on the party's behalf;
    •            statements of the party;
    •            the testimony of any witnesses called by the party;
    •            sentencing proceedings; and
    •            any other portion of the transcript as ordered by the court.

    Any party needing a copy of the transcript to review for redaction purposes may purchase a
copy through the Office of the Clerk of Court or view the document at the Clerk's Office public
terminal.




Date:       ™l/30/15


                                        Certificate of Service

     I hereby certify that on 1/30/15 , I served the forgoing notice upon the parties in this
matter via e-mail and/or via first-class mail as indicated in the attached Notice of Electronic
filing.
